                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

In re:                                                         Case No. 13-46759

SHARREEN HARDY, pro se,                                        Chapter 7

                Debtor.                                        Judge Thomas J. Tucker
                                           /

SHARREEN HARDY, pro se,

                Plaintiff,

         v.                                                    Adv. Pro. No. 13-4761

WELLINGTON PLACE MANOR,

                Defendant.
                                           /

                      OPINION REGARDING DEFENDANT’S MOTION
                         TO DISMISS ADVERSARY PROCEEDING

         This adversary proceeding is before the Court on Defendant’s motion to dismiss

Plaintiff’s complaint (Docket # 5, the “Motion”). The Court concludes that a hearing on the

Motion is not necessary, and that the Plaintiff’s complaint must be dismissed, but for reasons

other than those argued in the Motion.

         The claims that Plaintiff is asserting in this adversary proceeding all arose before she filed

her pending Chapter 7 bankruptcy case. As a result, all of the claims are currently property of the

bankruptcy estate in the Chapter 7 case. This means that unless and until the Chapter 7 Trustee

abandons these claims under 11 U.S.C. § 554, only the Chapter 7 Trustee has standing and

authority to pursue these claims. See, e.g., Auday v. Wet Seal Retail, Inc., 698 F.3d 902, 904 (6th

Cir. 2012); In re Stinson, 221 B.R. 726, 729, 731 & n.3 (Bankr. E.D. Mich. 1998).




   13-04761-tjt      Doc 16     Filed 08/30/13      Entered 08/30/13 16:18:25         Page 1 of 2
       Plaintiff has not claimed any exemption in the claims,1 and the Chapter 7 Trustee has not

abandoned the claims. Therefore, only the Chapter 7 Trustee may prosecute the claims, and

Defendant’s continuing prosecution of these claims would violate the automatic stay, under 11

U.S.C. § 362(a)(3). See Stinson, 221 B.R. at 730-31.

       For the reasons stated above, the Court will enter an Order granting Defendant’s Motion

and dismissing this adversary proceeding.


Signed on August 30, 2013                      /s/ Thomas J. Tucker
                                               Thomas J. Tucker
                                               United States Bankruptcy Judge




       1
           See Debtor’s Amended Schedule C (Docket # 45 in Case No. 13-46759, at pdf p. 8).

                                                  2



   13-04761-tjt      Doc 16     Filed 08/30/13     Entered 08/30/13 16:18:25         Page 2 of 2
